 4:06-cr-03016-JMG-CRZ           Doc # 70     Filed: 12/07/06     Page 1 of 1 - Page ID # 225




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiffs,             )                     4:06CR3016
                                               )
               v.                              )
                                               )
ARMANDO GARCIA-DELACRUZ,                       )       ORDER ON MOTION TO CONTINUE
MARCO M. PRUNEDA,                              )                  TRIAL
                                               )
                       Defendants.             )
                                               )


       Because the Motion to Continue Trial is based upon the fact that an essential witness for
the government’s case cannot be produced for trial before December 21, 2006, and I find that the
ends of justice served by granting the continuance outweigh the best interest of the public and the
defendant in a speedy trial.
       IT IS ORDERED that the Motion to Continue Trial, filing 68, is granted and trial is
scheduled to begin on February 5, 2007, at 9:00 a.m. and the period of time from the date of this
order until December 21, 2006, shall be excluded for purposes of the Speedy Trial Act.
       Dated December 7, 2006.

                                      BY THE COURT

                                      s/ Warren K. Urbom
                                      United States Senior District Judge
